Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18      PageID.1   Page 1 of 14




              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

PETER TRUCKING, LLC,                          Case No.
a Michigan Limited Liability Company,         Hon.

                  Plaintiff,
      v.

WESTERN EXPRESS, INC. A
Tennessee For-Profit Corporation,
XPO LOGISTICS, INC. A Delaware
For-Profit Corporation, and
MICHAEL SANTORO, an individual

                   Defendants.
______________________________________________________________/
Hubbard Snitchler & Parzianello PLC
Mark M. Snitchler (P41117)
Eric A. Parzianello (P42797)
Attorneys for Plaintiff
719 Griswold St., Suite 620
Detroit, MI 48226
313.672.7300
msnitchler@hspplc.com
eparzianello@hspplc.com
_________________________________________________________ /

             COMPLAINT AND DEMAND FOR JURY TRIAL


      Plaintiff PETER TRUCKING, LLC (“Peter Trucking”), through its counsel,

alleges upon information and belief, except for his own acts, which are alleged

upon personal knowledge, as follows:
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18        PageID.2   Page 2 of 14




                                    PARTIES

      1.    Plaintiff Peter Trucking is a limited liability company organized and

existing under the laws of the State of Michigan, which maintains its principal

offices at 2951 Tanglewood Dr., in Wayne, Michigan.

      2.    Peter Trucking is a provider of interstate freight hauling and

transportation services throughout the United States.

      3.    Defendant Western Express, Inc. (“Western Express”) is a corporation

organized and existing under the laws of the State of Tennessee

      4.    Western Express maintains its principal offices at 7135 Centennial

Place in Nashville, Tennessee.

      5.    Western Express is a provider of interstate freight hauling and

transportation services throughout the United States.

      6.    Defendant XPO Logistics, Inc. (“XPO”) is a corporation organized

and existing under the laws of the State of Delaware.

      7.    XPO maintains is principal office in the United States at Five

American Lane in Greenwich, Connecticut.

      8.    XPO is a global logistics company that provides transportation and

supply chain solutions.

      9.    Defendant Michael Santoro (“Santoro”) is an individual residing at

214 Proffitt Road, Mooresburg, Tennessee.


                                         2
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18          PageID.3   Page 3 of 14




       10.     At all relevant times Santoro was an employee of Western Express.

                          JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over this action under 28

U.S.C. § 1331, which provides that “the district courts shall have original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of

the United States.”

       12.     Plaintiff brings its primary claims against the Defendants under 49

USCS §§ 13501 et seq., otherwise known as “The Motor Carrier Act” (“MCA”). In

particular, Defendants have violated section 49 USCS § 14101(a) of the MCA.

       13.     The relevant portion of 49 USCS § 14101(a) of the MCA requires

“…a motor carrier shall provide safe and adequate service, equipment, and

facilities.”

       14.     Pursuant to Fed. R. Civ. P. 20(a)(2)(A), Defendants are properly

joined in this action as the right of Plaintiff to relief from all named Defendants

arises “out of the same transaction, occurrence, or series of transactions or

occurrences…”

       15.     Venue is proper as both Western Express and XPO have systematic

and continuous business contacts with this District.

       16.     XPO maintains locations of business in at least 17 locations in this

District, including locations in Wayne County, Michigan. Further, XPO transacts


                                          3
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18       PageID.4   Page 4 of 14




business in Michigan, is registered to do business in Michigan, has designated an

agent for service in Michigan, advertises and markets its products in Michigan,

disseminates the representations set forth herein throughout Michigan, and derives

substantial income from the sale and performance of services in Michigan,

including, without limitation, freight shipments originating in or delivered to

locations in Michigan and in this District. Further, the freight Plaintiffs were

hauling for XPO originated in this District.

      17.    Western Express regularly services all contiguous 48 states in the

United States and maintains dedicated fleets which operate in the state of

Michigan. Further, Western Express transacts business in Michigan, derives

substantial income from the sale and performance of services in Michigan,

including, without limitation, freight shipments originating in or delivered to

locations in Michigan.

      18.    Michael Santoro, as an employee of Western Express, was a motor

carrier pursuant to 49 USCS § 13102(14) subject to the MCA while driving a semi-

trailer truck to provide interstate transportation.

                              FACTUAL SUMMARY

      19.    Peter Trucking’s immediate action arises out of a rear-end type motor

vehicle collision.




                                            4
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18          PageID.5   Page 5 of 14




      20.    The collision occurred on or about July 9, 2016 at approximately 5:46

p.m. on a bridge which was part of Interstate-57 near the border of Illinois and

Missouri in Road District Township, Illinois.

      21.    Peter Trucking was providing interstate transportation for a loaded

trailer it had contracted to haul for XPO from Michigan to Texas.

      22.    The trailer being used to haul the load was provided by XPO (the

“XPO Trailer”).

      23.    Peter Trucking’s agreement to haul the freight brokered to it by XPO

was memorialized in a written contract.

      24.    Peter Trucking’s truck was forced to come to a complete stop on

Interstate-57 because it could not exit the interstate in a safe manner due to an “air

pressure” problem with the brake system on the XPO Trailer Peter Trucking was

hauling.

      25.    In order to remedy the air pressure problem with the trailer, Peter

Trucking’s truck had to remain stationary for a period of time while remaining in

the southbound right lane of the interstate.

      26.    The truck driven by Peter Trucking was parked in plain view, and

upon information and belief there were no conditions present at the time of the

collision adversely impacting visibility (weather, time of day, or otherwise).




                                          5
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18           PageID.6   Page 6 of 14




         27.   While the Peter Trucking truck was stationary, a semi-trailer truck

owned by Western Express was being driven southbound by Defendant Santoro

towards the Peter Trucking truck from the rear.

         28.   Absent the necessary due care and caution, and despite the obvious

hazard presented by the parked Peter Trucking vehicle in plain view, the Western

Express truck struck the driver-side rear portion of the trailer being hauled by Peter

Trucking.

         29.   The collision caused the load of steel rolled cables being hauled by

Western Express to break free, causing considerable damage to Western Express’

tractor as well as Peter Trucking’s tractor and the XPO Trailer and freight situated

in it.

         30.   As a result of the collision, the drivers and co-drivers of both trucks

involved were transported to the hospital to be treated for injuries.

         31.   Damages to the tractor owned by Peter Trucking as a result of the

collision amounted to $3,497.26.

         32.   Peter Trucking also was required to pay towing charges amounting to

$1,800.00 and a one-day storage charge of $65.00 in connection with the collision.

         33.   In the immediate wake of the collision, on or about July 11, 2016,

Peter Trucking received correspondence from XPO stating XPO had been made

aware of the accident and held Peter Trucking individually responsible for the


                                           6
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18           PageID.7    Page 7 of 14




damages to XPO’s trailer and the freight it contained, despite the absence of fault

on the part of Peter Trucking.

      34.     Peter Trucking later received correspondence from XPO on August

16, 2016 which indicated a hold had been placed on Plaintiffs’ open payables owed

to it by XPO as a result of the damage to the trailer and freight.

      35.     In an action of “self-help”, on or about September 9, 2016, XPO sent

another correspondence to Peter Trucking stating it would be “deducting

$14,862.75 available funds from your open payables and releasing the hold as per

the contract your company has with XPO Logistics.” XPO its action on a provision

which was allegedly part of the agreement between Peter Trucking and XPO. Peter

Trucking disputes the manner in which the agreement was applied to its case.

      36.     Peter Trucking subsequently opened a claim with Western Express on

or about October 5, 2016.

      37.     Along with opening the claim, Peter Trucking forwarded several

documents to Western Express, including the Illinois crash report, estimate of the

repairs to Peter Trucking’s tractor, as well as pictures of the damage.

      38.     To date, Peter Trucking has not received payment from any of the

Defendants to rectify the damages it has suffered.

      39.     Peter Trucking has been damaged as a result of the conduct of the

Defendants.


                                           7
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18             PageID.8    Page 8 of 14




       40.      Beyond the immediate issue with XPO, Peter Trucking has been

transporting brokered freight of various types through single-load contracts with

XPO Logistics since in or around 2015 upon information and belief.

       41.      Many of these contracts have been fully completed by Peter Trucking

without further compensation from XPO.

                         COUNT I – NEGLIGENCE
                  AGAINST DEFENDANT WESTERN EXPRESS

       42.      Plaintiff restates and realleges the preceding allegations as if fully set

forth herein.

       43.      Western Express had a duty to comply with the requirements of 49

USCS §§ 13501 et seq., specifically, 49 USCS § 14101(a).

       44.      The relevant portion of 49 USCS § 14101(a) of the MCA requires

“…a motor carrier shall provide safe and adequate service, equipment, and

facilities.”

       45.      Western Express, as a motor carrier covered by the MCA, violated its

duties under 49 USCS § 14101(a) by employing a driver who conducted himself in

an unsafe manner by failing to safely operate a motor vehicle during the course of

his employment with Western Express.

       46.      49 U.S.C §14704(a)(2) creates a private right of action against a

motor carrier when a person sustains damages as a result of, inter alia, a motor

carrier's Section 14101(a) violation:
                                             8
 Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18             PageID.9     Page 9 of 14




       §14704. Rights and remedies of persons injured by carriers or brokers.

       (2) Damages for violations. A carrier or broker providing transportation or

       service subject to jurisdiction under chapter 135 [49 USCS §§13501 et seq.]

       is liable for damages sustained by a person as a result of an act or omission

       of that carrier or broker in violation of this part [49 USCS §§13101 et seq.].

       47.      Pursuant to 49 USC § 14704(a)(2) and (e), Plaintiff are entitled to

reasonable attorneys' fees incurred due to the harm suffered as a result of unlawful

brokerage activities performed by Western Express.

       WHEREFORE, for the foregoing reasons, Plaintiff request this court enter

judgment against Western Express awarding Plaintiff damages, costs, attorney fees

and such other relief as may be permitted by this Court.

                         COUNT II – NEGLIGENCE
                  AGAINST DEFENDANT MICHAEL SANTORO

       48.      Plaintiff restates and realleges the preceding allegations as if fully set

forth herein.

       49.      Michael Santoro owed the duty of a reasonable and prudent person to

Plaintiff as a fellow driver on the interstate.

       50.      Defendant Santoro was negligent and breached his duty to Plaintiff in

one or more of the following ways that caused Plaintiff’s damages:

             a. Failure to use ordinary care under the circumstances then and there

                existing;
                                              9
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18            PageID.10    Page 10 of 14




            b. Failure to keep a proper lookout for other vehicles under the

                circumstances then and there existing;

            c. Failure to keep his vehicle under proper control for the circumstances

                then and there existing; and,

            d. Failure to avoid a known and visible hazard.

      51.       As a direct and proximate result of the breach of duty owed to

Plaintiff by Defendant Santoro, Plaintiff has been significantly damaged

monetarily.

      WHEREFORE, for the foregoing reasons, Plaintiff requests this court enter

judgment against Michael Santoro awarding Plaintiff damages, costs, attorney fees

and such other relief as may be permitted by this Court.

                     COUNT III – VICARIOUS LIABILITY
                  AGAINST DEFENDANT WESTERN EXPRESS

      52.       Plaintiff restates and realleges the preceding allegations as if fully set

forth herein.

      53.       At all relevant times, Defendant Santoro was acting as Defendant

Western Express’ employee and/or actual agent and/or apparent agent, and was

acting within the course and scope of his employment and/or agency on behalf of

Western Express.

      54.       Defendant Santoro was negligent and breached his duty to Plaintiff in

one or more of the following ways that caused Plaintiff’s damages:
                                             10
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18           PageID.11   Page 11 of 14




            a. Failure to use ordinary care under the circumstances then and there

            existing;

            b. Failure to keep a proper lookout for other vehicles under the

            circumstances then and there existing;

            c. Failure to keep his vehicle under proper control for the circumstances

            then and there existing; and,

            d. Failure to avoid a known and visible hazard.

    55.        Defendant Santoro acted under the control and influence of Western

Express for its commercial benefit. On this basis, Western Express is vicariously

liable for the damages caused by the negligence of Defendant Santoro as alleged in

this Complaint.

      56.      Further, Western Express had a duty to act reasonably in hiring,

training, supervising and retaining of Defendant Santoro.

      57.      As a direct and proximate result of the breach of duty owed to

Plaintiff by Western Express, Plaintiff has been significantly injured monetarily

through damage done to Plaintiff’s tractor.

      58.      Western Express’ actions are a direct and proximate cause of the

damages suffered by Plaintiff.




                                            11
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18            PageID.12    Page 12 of 14




      WHEREFORE, for the foregoing reasons, Plaintiff requests this court enter

judgment against Western Express awarding Plaintiff damages, costs, attorney fees

and such other relief as may be permitted by this Court.

                      COUNT IV – BREACH OF CONTRACT I
                          AGAINST XPO LOGISTICS

      59.       Plaintiff restates and realleges the preceding allegations as if fully set

forth herein.

      60.       At all material times, there was an agreement between Peter Trucking

and XPO for Peter Trucking to haul an over the road freight load brokered to Peter

Trucking by XPO.

      61.       Pursuant to the agreement between the parties, upon information and

belief, XPO provided its own trailer loaded with the freight to be hauled by XPO.

      62.       XPO was the first party to breach the agreement between XPO and

Plaintiff by failing to provide a safely operable trailer to Peter Trucking.

      63.       XPO further breached its agreement with Plaintiff when it withheld

 accounts payable in order to “off-set” the damages which were directly and

 proximately caused by XPO’s failure to provide a safe and operable trailer to

 Peter Trucking.

      64.       As a direct and proximate result of XPO’s breach, Plaintiff has

suffered damages due to the damage to Plaintiff’s tractor caused by XPO’s

defective trailer as well as damages related to XPO’s self-help “off-set.”
                                             12
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18            PageID.13    Page 13 of 14




      WHEREFORE, for the foregoing reasons, Plaintiff requests that this court

enter judgment against XPO Logistics awarding Plaintiff $18,360.01 in damages

comprising Defendant’s “off-set” and damage to Plaintiff’s trailer, as well as costs,

attorney fees and such other relief as may be permitted by this Court.

                      COUNT V – BREACH OF CONTRACT II
                          AGAINST XPO LOGISTICS

      65.       Plaintiff restates and realleges the preceding allegations as if fully set

forth herein.

      66.       Plaintiff entered into numerous individual agreements with XPO to

haul freight loads to various locations around the United States brokered to

Plaintiff by XPO.

      67.       These agreements, upon information and belief, were entered into

from a period beginning in 2015 to in or around February 2017.

      68.       Plaintiff fully satisfied its obligations under these various agreements

and sent invoices to Defendant claiming payment owed after satisfactory

completion of services in accordance with the agreements.

      69.       Defendant breached its duties under these agreements by failing to

provide payment for the services rendered by Plaintiff in accordance with the

agreements.

      70.       As a direct and proximate result of Defendant’s, Plaintiff has suffered

significant pecuniary damages.
                                             13
Case 2:18-cv-11840-GCS-RSW ECF No. 1 filed 06/08/18         PageID.14      Page 14 of 14




      71.   Plaintiff asserts Defendant has failed to remit payment in an amount at

or around $28,793.95.

      WHEREFORE, for the foregoing reasons, Plaintiff requests this court enter

judgment against XPO Logistics awarding Plaintiff damages, costs, attorney fees

and such other relief as may be permitted by this Court.


                                           Respectfully Submitted:
                                           HUBBARD SNITCHLER &
                                           PARZIANELLO, PLC


                                           _/S/ Eric A. Parzianello_____________
                                           Mark M. Snitchler (P41117)
                                           Eric A. Parzianello (P42797)
                                           Attorney for Plaintiff
                                           719 Griswold St., Suite 620
Dated: June 8, 2018                        Detroit, MI 48226


                         DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury on all claims so triable.


                                              HUBBARD SNITCHLER &
                                              PARZIANELLO, PLC


                                              _/S/ Eric A. Parzianello_______

                                              Mark M. Snitchler (P41117)
                                              Eric A. Parzianello (P42797)
                                              Attorney for Plaintiff
                                              719 Griswold St., Suite 620
                                              Detroit, MI 48226
Dated: June 8, 2018
                                         14
